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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY

     In re:                                                     )
                                                                )   Chapter 11
              LTL MANAGEMENT LLC,                               )
                                                                )   Case: 23-12825-MBK
              Debtor.                                           )

                MRHFM’S PLAINTIFFS’ JOINDER TO PAUL CROUCH’S
           MOTION TO PRECLUDE TESTIMONY OF CHARLES H. MULLIN AND
                      GREGORY K. BELL AND OBJECTION TO
                TO PROFERRED EXPERT TESTIMONY OF DR. MULLIN

              MRHFM joins Mr. Crouch’s Motion to Preclude (Dkt. 875) and Objection (Dkt.

 890). The Jones Day/Bates White1 road show has been very lucrative for both firms in bad

 faith billionaire “bankruptcies,” generating over $130 million in fees in North Carolina

 Two Steps alone. See MRHFM Reply MTD., Dkt. 855, pg. 24. But none of Dr. Mullin’s

 opinions about the tort system are admissible, and because Dr. Bell relies upon Dr.




 1
     Dr. Mullin is a partner at Bates White, Dr. Bell is not.
                                                                1
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 Mullin’s conclusions, none of Dr. Bell’s opinions are admissible either.

        Dr. Mullin’s view—that trusts are more efficient and “superior” to the tort

 system—is irrelevant to what this Court has been charged to do: “start, and stay, with

 good faith.” In re LTL Mgmt., LLC, 64 F.4th 84, 93 (3d Cir. 2023). Relevant to this Court’s

 determination is the totality of the circumstances, including financial distress, at the time

 of filing on April 4, 2023. LTL Mgmt., 64 F.4th at 108 (“we can only infer that LTL, at the

 time of its filing, was highly solvent…”); In re SGL Carbon, 200 F.3d 154, 164 (3d Cir. 1999)

 (noting that if the debtor was facing “serious financial and/or managerial difficulties at

 the time of filing” the result may have been different).

        The Debtor cannot backfill its evidentiary deficiencies—i.e., the testimony of its

 own officers about what they considered when LTL filed its second petition—with post

 hoc pontifications from its experts about the horrors of the tort system. This is especially

 so here, given the Circuit’s holding that J&J’s “belief” that bankruptcy is “best of all

 possible worlds” is not enough to survive dismissal; LTL “was in no financial distress

 when it sought Chapter 11 protection” and this was grounds for dismissal. LTL Mgmt., 64

 F.4th at 111 (emphasis). The Third Circuit didn’t consider J&J’s view of the tort system in

 deciding this case, so this Court should refrain from doing so.

        As noted by Mr. Crouch, weighing the relative merits of the tort system versus the

 bankruptcy system are outside of this Court’s power. The opinions expressed by Drs.

 Mullin and Bell are largely policy arguments, of the type Congress rejected 20 years ago.

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 See Exhibit 1. MRHFM has briefed this at length. See MRHFM Reply, pg. 23; LTL1,

 MRHFM Obj. Prelim. Inj., Dkt. 2564. It makes perfect sense that Dr. Mullin has flip

 flopped from the positions he took in Imerys. See Crouch Obj., Exhibit 2 (Mullin Report).

 So has Johnson & Johnson.

 Respectfully submitted:

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 __________________________
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